        Case 4:22-cv-00081-WMR Document 1 Filed 04/04/22 Page 1 of 13




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                               ROME DIVISION

DAKOTA HOLT,                           )
                                       )
      Plaintiff,                       )
                                       )       CIVIL ACTION
v.                                     )
                                       )       FILE No. _____________________
CW & JR, LLC,                          )
                                       )
      Defendant.                       )

                                   COMPLAINT

      COMES NOW, DAKOTA HOLT, by and through the undersigned counsel,

and files this, his Complaint against Defendant CW & JR, LLC pursuant to the

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the

ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”). In support

thereof, Plaintiff respectfully shows this Court as follows:

                         JURISDICTION AND VENUE

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

      2.     Venue is proper in the federal District Court for the Northern District


                                           1
         Case 4:22-cv-00081-WMR Document 1 Filed 04/04/22 Page 2 of 13




of Georgia, Rome Division, as the parcel of real property at issue in this case is

located in Bartow County, Georgia.

                                     PARTIES

       3.     Plaintiff DAKOTA HOLT (hereinafter “Plaintiff”) is, and has been at

all times relevant to the instant matter, a natural person residing in Cartersville,

Georgia (Bartow County).

       4.     Plaintiff is an amputee and is disabled as defined by the ADA.

       5.     Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking and standing.

       6.     Plaintiff cannot walk and uses a wheelchair for mobility purposes.

       7.     Defendant CW & JR, LLC (hereinafter “Defendant”) is a Georgia

limited liability company that transacts business in the state of Georgia and within

this judicial district.

       8.     Defendant may be properly served with process via its registered

agent for service, to wit: Wanny Lo, 2031 Towneship Trail, Roswell, Georgia

30075.

                            FACTUAL ALLEGATIONS

       9.     On or about March 5, 2022, Plaintiff was a customer at “Dragon


                                          2
        Case 4:22-cv-00081-WMR Document 1 Filed 04/04/22 Page 3 of 13




Garden Chinese Restaurant,” a business located at 548 M.L.K. Jr. Drive,

Cartersville, Georgia 30120.

      10.    Defendant is the owner or co-owner of the real property and

improvements that are the subject of this action. (The structures and improvements

situated upon said real property shall be referenced herein as the “Facility,” and

said real property shall be referenced herein as the “Property”).

      11.    Plaintiff lives approximately seven (7) miles from the Facility and

Property.

      12.    Plaintiff’s access to the business located at 548 M.L.K. Jr. Drive,

Cartersville, Georgia 30120 (Bartow County Property Appraiser’s parcel number

C009-0005-081), and/or full and equal enjoyment of the goods, services, foods,

drinks, facilities, privileges, advantages and/or accommodations offered therein

were denied and/or limited because of his disabilities, and he will be denied and/or

limited in the future unless and until Defendant is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the Facility

and Property, including those set forth in this Complaint.

      13.    Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility and Property once the Facility and Property are

made accessible.


                                          3
        Case 4:22-cv-00081-WMR Document 1 Filed 04/04/22 Page 4 of 13




      14.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      15.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to his access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      16.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      17.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      18.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      19.    The Facility is a public accommodation and service establishment.

      20.    The Property is a public accommodation and service establishment.

      21.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

                                           4
        Case 4:22-cv-00081-WMR Document 1 Filed 04/04/22 Page 5 of 13




regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      22.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      23.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      24.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      25.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      26.     Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in his capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,


                                          5
        Case 4:22-cv-00081-WMR Document 1 Filed 04/04/22 Page 6 of 13




conditions and ADA violations more specifically set forth in this Complaint.

      27.    Plaintiff intends to visit the Facility and Property again in the future as

a customer and as an advocate for the disabled in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly

offered at the Facility and Property, but will be unable to fully do so because of his

disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      28.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      29.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by


                                           6
        Case 4:22-cv-00081-WMR Document 1 Filed 04/04/22 Page 7 of 13




Plaintiff and other persons with disabilities.

      30.     A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      (a)     EXTERIOR ELEMENTS:

      (i)     The total number of accessible parking spaces on the Property

              complying with section 502 of the 2010 ADAAG standards is

              inadequate, in violation of section 208.2 of the 2010 ADAAG

              standards.

      (ii)    The signage for the existing accessible parking space on the

              Property is not installed at a permissible height, in violation of

              section 502.6 of the 2010 ADAAG standards.

      (iii)   The existing accessible parking space on the Property does not

              have an adjacent access aisle, in violation of section 502.3 of

              the 2010 ADAAG standards.

      (iv)    The existing accessible parking space on the Property has a

              significant cross-slope in excess of 1:48 (one to forty-eight), in


                                           7
 Case 4:22-cv-00081-WMR Document 1 Filed 04/04/22 Page 8 of 13




        violation of section 502.4 of the 2010 ADAAG standards.

(b)     INTERIOR ELEMENTS:

(i)     The interior of the Facility has a bar lacking any portion of

        which that has a maximum height of 34” (thirty-four inches)

        from the finished floor, in violation of section 902.3 of the 2010

        ADAAG standards.

(ii)    There are changes in level within the accessible route inside the

        Facility that exceed ½” (one half inch) that are not properly

        ramped, in violation of section 303.4 of the 2010 ADAAG

        standards.

(iii)   There are ambulatory configuration toilet compartments in the

        restrooms in the Facility; however, there are no toilet

        compartments in said restrooms that are compliant with section

        604.8.1 of the 2010 ADAAG standards, in violation of section

        213.3.1 of the 2010 ADAAG standards.

(iv)    The centerlines of the commodes in the accessible toilet stalls

        in the restrooms in the Facility are not correctly positioned from

        the sidewall or partition, in violation of section 604.2 of the

        2010 ADAAG standards.


                                     8
        Case 4:22-cv-00081-WMR Document 1 Filed 04/04/22 Page 9 of 13




       (v)    The accessible toilet stall doors in the restrooms in the Facility

              are not self-closing and/or otherwise violate section 604.8.2.2

              of the 2010 ADAAG standards.

       (vi)   The lavatories and/or sinks in the restrooms in the Facility have

              exposed pipes and surfaces that are not insulated or configured

              to protect against contact with the skin, in violation of section

              606.5 of the 2010 ADAAG standards.

       (vii) The height of the coat hooks located in the restroom stalls in the

              restrooms in the Facility are above 48” (forty-eight inches)

              from the finished floor, in violation of section 308.2.1 of the

              2010 ADAAG standards.

       (viii) The mirrors in the restrooms in the Facility exceed the

              maximum permissible height set forth in section 603.3 of the

              2010 ADAAG standards.

       31.    Without limitation, the above-described violations of the ADAAG

made it more difficult for Plaintiff to exit and re-enter his vehicle while on the

Property, and rendered large portions of the restroom in the Facility inaccessible to

Plaintiff.

       32.    The violations enumerated above may not be a complete list of the


                                           9
       Case 4:22-cv-00081-WMR Document 1 Filed 04/04/22 Page 10 of 13




barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

      33.    Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.

      34.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      35.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      36.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      37.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      38.    In instances where the 2010 ADAAG standards do not apply, the 1991


                                         10
       Case 4:22-cv-00081-WMR Document 1 Filed 04/04/22 Page 11 of 13




ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      39.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      40.    Plaintiff’s requested relief serves the public interest.

      41.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      42.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      43.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)    That the Court find Defendant in violation of the ADA and ADAAG;

      (b)    That the Court issue a permanent injunction enjoining Defendant from

             continuing its discriminatory practices;


                                          11
      Case 4:22-cv-00081-WMR Document 1 Filed 04/04/22 Page 12 of 13




      (c)   That the Court issue an Order requiring Defendant to (i) remove the

            physical barriers to access and (ii) alter the subject Facility and

            Property to make them readily accessible to, and useable by,

            individuals with disabilities to the extent required by the ADA;

      (d)   That the Court award Plaintiff’s counsel reasonable attorneys' fees,

            litigation expenses and costs; and

      (e)   That the Court grant such further relief as deemed just and equitable

            in light of the circumstances.

                                      Dated: April 4, 2022.

                                      Respectfully submitted,

                                      /s/Craig J. Ehrlich
                                      Craig J. Ehrlich
                                      Georgia Bar No. 242240
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       CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman


                                        12
       Case 4:22-cv-00081-WMR Document 1 Filed 04/04/22 Page 13 of 13




and a point size of 14.

                                   /s/Craig J. Ehrlich
                                   Craig J. Ehrlich




                                     13
